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     DONAHUE FITZGERALD LLP AND
7    JOHN GARDNER
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9
                               UNITED STATES DISTRICT COURT
10
                            NORTHERN DISTRICT OF CALIFORNIA
11
12   WAYMO LLC,                                  Case No. 3:17-cv-00939-WHA
13                       Plaintiff,              NOTICE OF MOTION AND MOTION
                                                 TO INTERVENE BY NON-PARTY
14         vs.                                   JOHN GARDNER PURSUANT TO FRCP
                                                 24(b); MEMORANDUM OF POINTS
15   UBER TECHNOLOGIES INC.,                     AND AUTHORITIES IN SUPPORT;
     OTTOMOTTO LLC, OTTO TRUCKING                PROPOSED ORDER
16   LLC,
                                                 Date: To be determined by the Court
17                       Defendants.             Time: To be determined by the Court
                                                 Dept.: Courtroom 12, 19th Fl.
18                                               Judge: The Honorable William H. Alsup
19                                               Trial Date: February 5, 2018
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      CASE NO: 3:17-cv-00939-WHA NOTICE OF MOTION AND MOTION TO INTERVENE; POINTS AND
                                 AUTHORITIES BY NON-PARTY JOHN GARDNER
                                                                                    448041.2
1                                 NOTICE OF MOTION AND MOTION
2                      TO ALL PARTIES AND THEIR ATTORNEYS OF RECORD:
3                      PLEASE TAKE NOTICE that at a date and time selected by this Court, in the
4    courtroom of the Honorable William H. Alsup, San Francisco Courthouse, Courtroom 8, 19th
5    Floor, 450 Golden Gate Avenue, San Francisco, CA 94109, non-party John Gardner will and
6    hereby does bring a motion for permissive intervention under Federal Rule of Civil Procedure
7    24(b) in the above-entitled matter. The limited purpose of the requested intervention is to
8    allow Mr. Gardner, who has been served with a Rule 45 trial subpoena, to move the Court for
9    an order requiring disclosure, in advance of direct examination, of the questions the parties
10   plan to ask of him at trial, as set forth in the separate accompanying motion, filed
11   concurrently herewith.
12                     This motion is supported by this Notice of Motion and Motion, the
13   accompanying Memorandum of Points and Authorities, the pleadings and papers filed in this
14   action, and such further evidence or argument as may be presented at or prior to any hearing
15   on this matter.
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17   Dated: January 19, 2018                       ROGERS JOSEPH O'DONNELL
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                                                   By:      /s/ Merri A. Baldwin
20                                                        MERRI A. BALDWIN
21                                                        Attorneys for Non-Parties DONAHUE
                                                          FITZGERALD LLP and
22                                                        JOHN GARDNER

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1                   MEMORANDUM OF POINTS AND AUTHORITIES
2           John Gardner, a non-party witness, files concurrently with this motion a motion for an
3    order requiring plaintiff Waymo to disclose in advance of the trial direct examination
4    questions the parties seek to present at trial, in order to expeditiously deal with the attorney-
5    client privilege issues that are likely to arise during Mr. Gardner’s trial testimony.
6           By the present motion, Mr. Gardner requests that this Court grant him permissive
7    intervention under Rule 24(b) so he may fully litigate that motion. Under Rule 24(b), the
8    district court has discretion to grant permissive intervention where the proposed intervenor’s
9    “claim or defense and the main action have a question of law or fact in common.” Kootenai
10   Tribe of Idaho v. Veneman, 313 F.3d 1094, 1108 (9th Cir. 2002), abrogated on other gds. by
11   Wilderness Society v. U.S. Forest Service, 630 F.3d 1173, 1178 (9th Cir. 2011). The rule is
12   liberal – “If there is a common question of law or fact, the requirement of the rule has been
13   satisfied and it is then discretionary with the court whether to allow intervention. Id. at 1109,
14   quoting 7C Wright. Miller & Kane, Federal Practice and Procedure, section 1191, 357-63 (2d
15   ed. 1986). See also Arakaki v. Cayetano, 324 F.3d 1078, 1083 (9th Cir. 2003) (“Rule 24
16   traditionally receives liberal construction in favor of applicants for intervention. [Citation
17   omitted.] Courts are guided primarily by practical and equitable considerations.”).
18          Under this liberal standard, the proposed intervenor’s common “claim or defense”
19   need not be an actual “claim” in the sense of a claim on the merits asserted in a complaint or a
20   “defense” raised in an answer. See, e.g., Beckman Indus. v. International Ins. Co., 966 F.2d
21   470, 472-73 (9th Cir. 1992) (rejecting opponent’s argument that Rule 24(b) “only permits
22   intervention for the purpose of litigating a claim on the merits in a pending action” and
23   affirming order allowing non-party to intervene for limited purpose of seeking to modify a
24   protective order), cert. denied, 506 U.S. 470, 113 S. Ct. 197 (1992). The other applicable
25   requirements for permissive intervention – that the motion be timely and will not cause undue
26   delay or prejudice – are satisfied here. As detailed in the accompanying motion, Waymo
27   served the Rule 45 trial subpoena on Mr. Gardner on January 12, 2018, and Mr. Gardner
28   promptly filed both motions after his counsel’s attempts to resolve the issue by meeting and

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1    conferring failed. 1 Waymo is able to avoid any undue delay or prejudice by promptly
2    providing Mr. Gardner with its proposed questions, which it has to prepare in any event. Any
3    “delay” that this may cause will be more than offset by the expedited direct examination that
4    will result from Mr. Gardner and this Court obtaining a preview of the anticipated questions.
5             Further, the grant of limited permissive intervention will protect Mr. Gardner’s right to
6    appeal orders of this Court: “An intervenor may appeal from ‘all interlocutory and final
7    orders that affect him … whether the right under which he intervened was originally absolute
8    or discretionary.” Stringfellow v. Concerned Neighbors in Action, 480 U.S. 370, 376 (1987)
9    quoting Moore & J. Kennedy, Moore’s Federal Practice, par. 24-15, pp. 24-169 to 24-170 (2d
10   3d. 1985).
11            Because Mr. Gardner seeks to obtain an order that will protect his right and obligation
12   to assert the attorney-client privilege on behalf of his client without creating undue burden on
13   himself or undue delay in the conduct of the trial, this Court should grant the present motion
14   for permissive intervention. A grant of permissive intervention will allow Mr. Gardner to
15   fully litigate this issue.
16            For all the foregoing reasons, the Court should grant the present motion to intervene
17   under Rule 24(b).
18
19   Dated: January 19, 2018                      ROGERS JOSEPH O'DONNELL
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                                                  By:       /s/ Merri A. Baldwin
22                                                        MERRI A. BALDWIN
23                                                        Attorneys for Non-Party
                                                          JOHN GARDNER
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      Two other usual requirements for permissive intervention, independent jurisdictional
28   grounds and a pleading setting forth the proposed claim or defense, are also dispensed with
     when, as here, the intervention sought is for a limited purpose, and does not seek to litigate a
     claim on the merits. Beckman, 966 F.2d at 473-474.
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1                                [PROPOSED] ORDER
2
                   For the reasons stated above, non-party John Gardner may intervene pursuant
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     to Federal Rule of Civil Procedure 24(b) in the above-captioned matter.
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5    DATE: ________________                           __________________________
6                                                     WILLIAM H. ALSUP
                                                      UNITED STATES DISTRICT JUDGE
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